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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

DAKOTA ROBINSON,                                           §
                                                           §
           Plaintiff,                                      §           Civil Action No. 4:21-cv-00780
                                                           §
v.                                                         §     (Removed from the 269th Judicial District,
                                                           §       District Court of Harris County, Texas,
YRC FREIGHT, INC. a/k/a YRC                                §               Cause No. 2021-06458)
FREIGHT,                                                   §
                                                           §
           Defendant.

                                DEFENDANT’S NOTICE OF REMOVAL

           Defendant YRC Inc. d/b/a YRC Freight 1, on behalf of itself, its affiliates, its

predecessors, parents, agents successors, officers, directors, representatives, employees, and all

persons acting or purporting to act on their behalf, including all persons Plaintiff contends have

acted on their behalf (“YRC”), pursuant to 28 U.S.C. §§ 1441 and 1446, files this Notice of

Removal of the above-captioned cause to the United States District Court for the Southern

District of Texas, Houston Division, and respectfully submits the following statement as the

grounds for removal:

                                                           I.

           On or about February 9, 2021, Plaintiff Dakota Robinson served YRC with his Original

Petition, styled Dakota Robinson v. YRC Freight Inc a/k/a YRC Freight, Cause No. 2021-06458,

in the 269th Judicial District Court of Harris County, Texas. See Orig. Pet., Exhibit 1-C;

Declaration of Heather Sherrod at ¶3, Exhibit 2.

           Pursuant to Southern District of Texas Local Rule 81, an index and true and correct

copies of all executed process, pleadings, orders signed by the Court (none), the docket sheet, an


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    YRC Inc. files this answer on behalf of the incorrectly named defendant, YRC Freight, Inc.


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index of matters being filed, and a list of all counsel of record are attached and incorporated by

reference as Exhibit 1. A Civil Cover Sheet will be filed concurrently with this Notice of

Removal.

         In his Petition, Plaintiff alleges that YRC retaliated and discriminated against him on the

basis of his disability in violation of the Texas Labor Code, Tex. Lab. Code § 21.051. See Ex. A

at ¶1.1. YRC filed its Original Answer and Affirmative and Other Defenses to Plaintiff’s

Original Petition on March 5, 2021. A true and correct copy of YRC’s Original Answer is

attached as Exhibit 1-E.

         No orders have been signed by the state court judge. See Sherrod Dec. at ¶4. A true and

correct copy of the Court’s Docket Sheet for the state court case is attached as Exhibit 1-B.

                                                  II.

         This Court has original jurisdiction over Plaintiff’s action under 28 U.S.C. § 1332(a),

which provides that the federal district court has jurisdiction over civil actions when the parties

are citizens of different states and the amount of controversy exceeds $75,000. See Perio v.

Titan Mar., LLC, No. 13-1754, 2013 WL 5563711, *2 (S.D. Tex. Oct. 8, 2003) (citing 28 U.S.C.

§ 1332). As fully shown below, both requirements are fulfilled.

                                                 III.

         Plaintiff resides in Texas and is therefore a citizen of Texas. See Ex. 1-C at ¶2.1; see also

Coury v. Prot, 85 F.3d 244, 249 (5th Cir. 1996) (stating that state citizenship for diversity

purposes is regarded as “synonymous” with domicile or where the plaintiff resides). YRC is

incorporated in Delaware with its headquarters in Overland Park, Kansas. Declaration of Louie

Stephenson at ¶3, attached as Exhibit 3. Accordingly, for purposes of diversity jurisdiction,

YRC is a citizen of Delaware and Kansas. See 28 U.S.C. § 1332(c)(1) (stating that a corporation




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shall be deemed to be a citizen of any State by which it has been incorporated and of the State

where it has its principal place of business); see also Hertz Corp. v. Friend, 559 U.S. 77, 92-93

(2010) (finding that a corporation is a citizen of its state of incorporation and state where it has

its “principal place of business” which is “the place where the corporation maintains its

headquarters”). Therefore, because the parties do not share citizenship, the first requirement for

removal based on diversity grounds under 28 U.S.C. § 1332(a) is satisfied.

           In addition, the amount in controversy, exclusive of interest and costs, exceeds $75,000.

Generally, the amount of controversy is determined “from the complaint itself, unless it appears

or is in some way shown that the amount stated in the complaint is not claimed ‘in good faith.’”

Horton v. Liberty Mut. Ins., Co., 367 U.S. 348, 353 (1961). In his Petition, exclusive of costs

and interest, Plaintiff requests the following relief: (1) loss of income; (2) attorney’s fees; (3)

damages for pain and suffering; and (5) punitive or exemplary damages. Ex.1-C at ¶¶8.1-10.1.

           Plaintiff’s hourly rate at the time of his voluntary resignation on April 30, 2019 was

$11.90. Stephenson Dec. at ¶4. Plaintiff’s total wages for 2018, from his hire date in April 2018

until December 31, 2018, were $13,577.71. Id. As Plaintiff seeks back pay as well as front pay

damages, which would be a minimum of approximately four years of lost wages, or

approximately $81,462. 2 See id.

           Based on these considerations, it is apparent that Plaintiff’s request for lost wages,

request for compensatory damages, attorney’s fees, and punitive damages would significantly

exceed the jurisdictional amount in controversy requirement of $75,000. See White v. FCI USA,

319 F.3d 672, 675 (5th Cir. 2003) (holding that a case met the amount of controversy

requirement where the plaintiff requested unspecified damages for wrongful termination in the

form of punitive damages, attorney’s fees, pre-judgment interest, court costs, compensatory

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    $13,577.71 is an average monthly rate of $1,697.13, which amounts to $81,462 over four years.


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damages for lost pay, lost fringe benefits, front pay, loss of wage earning capacity, harm to the

plaintiff’s credit and credit reputation, and mental anguish and emotional distress in the past and

future); Bates v. Laminack, 938 F. Supp. 2d 649, 655 (S.D. Tex. 2013) (“There is no question

that punitive or exemplary damages are included in calculating the amount in controversy.

Likewise, statutory attorney’s fees . . . are included in the calculation of the amount.” (citations

omitted)); Garcia v. Kellogg USA, Inc., No. 13-00347, 2013 WL 4735169, at *1-2 (S.D. Tex.

Sept. 3, 2013) (denying motion to remand because plaintiff’s state law discrimination claims

satisfied the amount in controversy because plaintiff sought back pay, mental anguish, and

attorney’s fees).

         Because the parties are completely diverse and the requisite amount in controversy is

satisfied, this Court has diversity jurisdiction over this action. 28 U.S.C. § 1332(a).

                                                IV.

         YRC was served with Plaintiff’s Petition on or about February 9, 2021. See Sherrod Dec.

at ¶3. Therefore, this Notice is timely filed pursuant to 28 U.S.C. § 1446. Moreover, the United

States District Court for the Southern District of Texas, Houston Division embraces the county in

which the state court action is now pending. Thus, this Court is a proper venue for this action

pursuant to 28 U.S.C. §§ 124(a)(2) and 1446(a). A true and correct copy of YRC’s Notification

of Removal will be filed with the Clerk for the Harris County District Court, 269th Judicial

District. A copy of this Notification of Removal is attached as Exhibit 4.

                                                 V.

         WHEREFORE, PREMISES CONSIDERED, Defendant YRC Inc. d/b/a YRC Freight

prays that the action now pending in the in the 269th Judicial District Court of Harris County,

Dakota Robinson v. YRC Freight Inc a/k/a YRC Freight, Cause No. 2021-06458, as described




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herein, be removed to the United States District Court for the Southern District of Texas,

Houston Division.

Dated: March 9, 2021                             Respectfully submitted,

                                                 /s/ Shauna Johnson Clark                 .
                                                 Shauna Johnson Clark
                                                 State Bar No. 00790977
                                                 Fed. Id. No. 18235
OF COUNSEL:                                      NORTON ROSE FULBRIGHT US LLP
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Facsimile: (713) 651-5246



                               CERTIFICATE OF SERVICE

        Pursuant to the Federal Rules of Civil Procedure, this pleading was served on counsel for
Plaintiff on March 9, 2021 via ECF and email:

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              ellen@rosenberglaw.com


                                                           /s/ Heather Sherrod
                                                           Heather Sherrod




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